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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                      CRIMINAL NO.: 1:15-CR-03762-JCH

NAEL ALI, ET.AL.

               Defendant.

                            NOTICE OF ENTRY OF APPEARANCE

       The undersigned hereby enters an appearance on behalf of the United States as co-

counsel.


                                                   Respectfully submitted,

                                                   JOHN C. ANDERSON
                                                   United States Attorney

                                                   _Electronically filed June 13, 2018
                                                   STEPHEN R. KOTZ
                                                   Assistant U.S. Attorney
                                                   P.O. Box 607
                                                   Albuquerque, NM 87103
                                                   (505) 346-7274


I HEREBY CERTIFY that I filed the foregoing pleading electronically through the CM/ECF
system, which caused the parties or counsel to be served by electronic means, as more fully
reflected in the Notice of Electronic Filing.

       /s/
STEPHEN R. KOTZ
Assistant U.S. Attorney
